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   Morteza Benjamin Ray Karimi
 1 14004 Merseyside Dr.
   Pflugerville, Texas, 78660
 2 512-969-0934
   nyccarini@hotmail.com
 3

 4 MORTEZA BENJAMIN RAY KARIMI, PRO SE

 5

 6
                               UNITED STATES DISTRICT COURT
 7
                            NORTHERN DISTRICT OF CALIFORNIA
 8

 9                                        SAN FRANCISCO

10 MORTEZA BENJAMIN RAY KARIMI                     )   Case No.: 3:17-cv-05702-JCS
                                                   )
                            Plaintiff,             )   PLAINTIFF’S UPDATED CASE
11                                                     MANAGEMENT STATEMENT
                                                   )
12        vs.                                      )
                                                   )
13 GOLDEN GATE SCHOOL OF LAW, DEAN                 )
   ANTHONY NIEDWIECKI                              )
                                                   )   Judge: Hon. Spero
14                                                     CMC Date: June 6, 2018
                                                   )
                                                   )   CMC Time: 2:00 p.m.
15                          Defendants.                Appearance: By Telephone
                                                   )
                                                   )   Original Complaint filed: October 3, 2017
16                                                     First Amended Complaint filed: May 14, 2018
                                                   )
17                                                 )
                                                   )
18

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     KARIMI v. GOLDEN GATE SCHOOL OF LAW and DEAN ANTHONY NIEDWIECKI in his official capacity. 3:
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 1 I.       JURISDICTION & SERVICE
 2
            This court has subject-matter jurisdiction pursuant to 26 U.S.C. § 1332, diversity citizenship.
 3
     There are no issues pending regarding personal jurisdiction. All parties have been served or have
 4
     waived service.
 5

 6 II.      FACTS
 7
                    Plaintiff filed his complaint on October 3, 2017 for breach of contract, defamation,
 8
     and intentional infliction of emotional distress. Plaintiff amended his complaint to include: violation
 9

10 of California Education Code § 94367, defamation/ false light, invasion of privacy by public

11 disclosure of private facts, and breach of covenant of good faith and fair dealing.

12          Plaintiff matriculated at Golden Gate School of Law (“GGU”) on August 14, 2017. Plaintiff
13 chose GGU because of a merit scholarship that would reduce his tuition to the amount of $40,000

14
     for the school year.
15

16          Plaintiff was harassed in his torts class by a student who sat behind Plaintiff on August 18,

17 2017. Plaintiff informed the school of the incident to where to school recommended Plaintiff to

18 switch seats. Plaintiff switched seats but was asked again to move at the request of another student.

19
     Plaintiff refused to move to where GGU had the student who harassed Plaintiff change seats so
20
     Plaintiff could return to his original seat. GGU stated that they had spoken with the students and
21
     there should not be any other problems for Plaintiff regarding this student. The student who
22
     harassed Plaintiff then joined a study group Plaintiff was part of in the school library after Plaintiff
23

24 was told there should be no other issues. Plaintiff reported the incident to GGU.

25
            On August 31, 2017, Plaintiff’s torts professor canceled a class scheduled the next day. The
26
     class was canceled at the request of some students who wished for a longer labor day weekend. The
27
     students made the request to the professor at the beginning of the class to which the professor
28
                                                   1
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     refused to cancel. The professor then made a deal that if the whole class could successfully define a
 1

 2 tort verbatim, he would cancel the class. The majority of the class failed the quiz but the professor

 3 canceled the class anyways.

 4
            Plaintiff objected to the cancellation to the professor and the administration. Plaintiff
 5
     requested for there to be some kind of compensation for the canceled class but none was offered.
 6
     Plaintiff then emailed his class stating his objection to the cancellation. Plaintiff also objected to
 7

 8 students irrelevant personal stories being shared during class time. Plaintiff never addressed a

 9 person by name nor singled out any student. Plaintiff did not use threatening, aggressive, profane, or

10 any other offensive language.

11
            Later, students started to make announcements in class regarding their bids for student
12
     elections and student organizations during class time. Teachers would give students up to twenty
13

14 minutes for such announcements and sometimes without the teachers consent. They would occur

15 daily.

16
            Plaintiff objected to these announcements to the administration and the class via email.
17
     Administration did not act and announcements continued. Plaintiff received hostile emails in return,
18

19 some that were shared with the whole class.

20          Plaintiff had a meeting with Dean Anthony Niedwiecky (“dean”) where he was told not to
21
     use a school system (TWEN) when emailing students. Plaintiff was told not to use TWEN to
22
     contact students. On the day of the suspension, before sending the suspension email to Plaintiff, the
23
     dean emailed Plaintiff telling him not to communicate with any classmates using TWEN or any
24

25 other tools to email classmates. After Plaintiff read the dean’s email, he replied and did not email

26 his class. Other students responded to the whole class in response to Plaintiff’s emails however

27 Plaintiff was the only one punished.

28
                                                   2
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 1

 2          On September 14, 2017, the dean sent an interim suspension letter to Plaintiff via email. The
 3 email did not give a reason to the suspension and the suspension was indefinite. The letter stated

 4
   that Plaintiff was to only communicate with the dean via email. The letter states that should Plaintiff
 5
   violate any of the dean’s orders, he would be subject to disciplinary action up to and including
 6
   dismissal. The dean sends another email to Plaintiff on September 18, 2017, stating that Plaintiff is
 7

 8 not to communicate with any students at the law school.

 9
            On September 18, 2017, the dean sends an email to the GGU community in regards to
10
     Plaintiff. The email was title “ADVISORY: Recent Security Concerns.” The email addresses a
11
     conversation Plaintiff had with San Francisco police outside of the school. The email states that
12
     Plaintiff had behavioral issues and was requested to leave campus. The email further explains that
13

14 there will be more security on campus and the presence of security and police personal. Plaintiff’s

15 relationships with others have suffered as a result of this email sent by the dean.

16
            After being suspended, Plaintiff was never allowed to return and was pressured to withdraw.
17
     The conditions to withdraw have changed numerous times. Initially, Plaintiff was only offered a
18

19 tuition refund with a refusal for anything more. Plaintiff was then offered tuition plus other

20 expenses (relocation costs, books, etc) that GGU calculated to $6,500. This would be granted with

21 Plaintiff agreeing to a release of claims. GGU then offered the same as before except a release of

22 claims would be excluded.

23
            After refusing the offers, the dean filed an internal complaint against Plaintiff alleging that
24

25 Plaintiff committed acts harmful to other people, failed to comply, and was disruptive. Plaintiff

26 received the complaint on December 1, 2017.

27

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               The dean states that Plaintiff violated his restrictions by Plaintiff’s communication other
 1

 2 students and by communication with the dean himself. Plaintiff has the same classmates for each

 3 class. The dean does not state any specific communication by Plaintiff that violated student

 4 handbook policy, only that Plaintiff continued to communicate with other students which were

 5
     against his instructions and that other students felt unsafe because of Plaintiff’s communication
 6
     regarding management of class time, to which the dean alleged that such speech was harmful to
 7
     others.
 8

 9 III.        LEGAL ISSUES

10
               This action presents the following issues for determination:
11

12                   Whether the dean acted arbitrarily and capriciously against Plaintiff. Regarding

13                    what is arbitrary and capricious, Courts decided, “its determination was arbitrary and
14                    capricious because the determination was not rationally based upon, and was
15
                      contradicted by, the evidence.” Warner v. Elmira Coll., 59 A.D.3d 909, 873
16
                      N.Y.S.2d 381, 383 (2009). Courts held that, “Rationality is what is reviewed under
17
                      both the substantial evidence rule and the arbitrary and capricious standard.”Pell v.
18

19                    Bd. of Ed. of Union Free Sch. Dist. No. 1 of Towns of Scarsdale & Mamaroneck,

20                    Westchester Cty., 34 N.Y.2d 222, 231, 313 N.E.2d 321, 325 (1974).

21
                     Whether GGU breached contract by not following student handbook procedure
22
                      which provides for a due process when they kicked Plaintiff out of school with no
23
                      charges or reason given, and whether there was a legitimate reason to punish
24

25                    Plaintiff. In Tedeschi v. Wagner, 49 N.Y.2d 652 (1980), the Court recognized that the

26                    relationship between an institution and an individual is somewhat one-sided and that
27                    when a University makes a rule or guideline regarding discipline, it must be
28
                                                   4
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                  substantially observed. Plaintiff’s case is similar in that Tedeschi was disciplined
 1

 2                without a hearing as stated in the handbook. Plaintiff effectively lost a whole year

 3                when the dean suspended him. Plaintiff was not given a hearing after demanding due

 4                process at the time he was suspended and was not offered one until about 3 months
 5
                  later, after commencing this lawsuit. The dean commenced a formal complaint two
 6
                  and a half months after suspending Plaintiff, after Plaintiff had filed this Complaint.
 7
                  Plaintiff has already been punished and lost a whole year regardless of the outcome
 8
                  of a hearing at this time. In denying Plaintiff a fair hearing or chance to return to
 9

10                school and salvage the remaining of the semester, Plaintiff was denied his rights as

11                stated in the student handbook which demonstrates a punishment without due
12                process or fairness. The dean did not even give a reason to the suspension or a time
13
                  frame to resolve the issue in his suspension letter. In regards to giving a hearing to
14
                  Plaintiff a this time, an opinion by Judge Gabrielli from Tedeschi parallels Plaintiff’s
15
                  reasoning that a hearing at this time is absurd. Did GGU abide by student handbook
16

17                regarding how student organizations may advertise. Did GGU follow the student

18                handbook in regards to who had authority in the disciplinary process.

19
                 Did the dean act arbitrarily and capriciously in his discretion of punishing Plaintiff.
20
                  Did the dean act arbitrarily and capriciously in filing a complaint which describes
21
                  Plaintiff’s code of conduct violations in relation to Plaintiff’s actual actions/speech
22

23                and speech. Does Plaintiff’s actual/speech actions fit the definition of a violation of

24                the codes the dean alleges were violated. Is GGU acting arbitrarily and capriciously

25                in having giving Plaintiff due process three months after the suspension, after
26
                  Plaintiff already has effectively been punished and demanded due process at the time
27
                  of suspension. Is a disciplinary procedure warranted based off of the dean’s
28
                                                  5
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                  allegations in relation to Plaintiff’s speech. Did GGU act arbitrarily and capriciously
 1

 2                in not having an Assistant Director of the Office of Student Conduct and

 3                Professionalism on hand and involved at the onset of the dean’s issues with Plaintiff,

 4                as stated in the student handbook.
 5
                 Whether the dean defamed Plaintiff by his email to the GGU community regarding
 6
                  Plaintiff pursuant to California Civil Code § 45 and whether such an email showed
 7

 8                Plaintiff in a bad light.

 9
                 Whether the dean, by his punishment, status, and knowledge of Plaintiff’s
10
                  circumstances and dependency on his legal education, caused Plaintiff mental and
11
                  emotional anguish.
12

13               Whether GGU violated California Education Code § 94367 when it punished
14
                  Plaintiff for his speech/communication. Plaintiff amended his complaint to include
15
                  the statute and was instructed by the Court to clarify on the statute. Dkt # 57 p. 25.
16
                  The California Legislature has intended the statute to mean that a student shall have
17
                  the same right to exercise the right to free speech on or off campus. “In addition, as
18

19                part of the law which enacted section 94367, the Legislature made findings and

20                declarations regarding free speech in an uncodified statute. (Stats.1992, ch. 1363, §
21                4, pp. 6846–6847.) In section 4 of that uncodified statute, the Legislature also stated:
22
                  ‘It is the intent of the Legislature that a student shall have the same right to exercise
23
                  his or right to free speech on campus as he or she enjoyed when off campus.’”
24
                  (Stats.1992, ch. 1362, § 4, p. 6847.) Yu v. Univ. of La Verne, 196 Cal. App. 4th 779,
25

26                789, 126 Cal. Rptr. 3D 763, 771 (2011).

27

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                   In making specific rules tailored towards Plaintiff regarding who and how he may
 1

 2                  communicate, did GGU restrain and/or abridge Plaintiff’s liberty of speech.

 3
                   By sharing the issues GGU was having with Plaintiff to the GGU community, did
 4
                    GGU violate Plaintiff’s right to privacy.
 5

 6                 By punishing Plaintiff without due process, as stated in the student handbook, and

 7                  delaying requested due process by Plaintiff after almost three months after being
 8
                    suspended and therefore already losing the year, did GGU violate the covenant of
 9
                    good faith and fair dealing. Were GGU’s actions towards Plaintiff fair and showing
10
                    of good faith. In not investigating Plaintiff’s harassment claim and tailoring
11
                    censorship rules specifically towards Plaintiff, did GGU act unfairly. Is GGU actig ni
12

13                  bad faith by retaining Plaintiff’s tuition money, which was prepaid for a semester,

14                  and using it as a negotiating tool to force Plaintiff to withdraw. A semester is roughly
15                  four months, defendant only attended for one month.
16

17

18 IV.      MOTIONS
19
            Plaintiff filed a temporary restraining order an a preliminary injunction on December 8,
20
     2017. Plaintiff intends to file another motion for a TRO and/or preliminary injunction under
21

22 California Education Code § 94367 if he is not accepted to another law school.

23 V.       AMENDMENT OF PLEADINGS
24
            Plaintiff amended his Complaint and filed it on May 14, 2018.
25

26 VI.      EVIDENCE OF PRESERVATION
27

28
                                                   7
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               Plaintiff has reviewed the Guidelines Relating to the Discovery of Electronically Stored
 1

 2 Information, and has conferred with Defendant pursuant to Fed. Civ. P. 26(f) regarding reasonable

 3 and proportionate steps taken to preserve evidence relevant to the issues reasonably evident in this

 4 action. Plaintiff asked for recordings of September 15, 2017, specifically the time was at GGU.

 5
     Defendant has not provided the recordings or given any evidence to show they do not exist or were
 6
     erased.
 7

 8 VII.        DISCLOSURES

 9
               The parties have agreed to serve the information required by Fed. R. P. 26.
10
               Plaintiff requested a video recording and other communications that are relevant to
11

12 Plaintiff’s claim.. The information that could be available on the items requested for discovery can

13 support Plaintiff’s claim. Plaintiff expects to receive all internal communication regarding Plaintiff

14 from Defendant as well as a security footage from September 15, 2017. Plaintiff also wants

15
     documentation of all events that took place that involved Plaintiff in anyway. For example:
16
     documentation of Plaintiff’s harassment complaint to Defendant, documentation of allegations other
17
     students made towards Plaintiff that were communicated to the dean, and any other relevant
18

19 documentation. Plaintiff also requested documents or any other information in regards to the date of

20 appointment of Dan Devoy to the position of Assistant Director of the Office of Student Conduct, of

21 which Plaintiff has not received at this time.

22
               Defendant is in possession of all documents relevant to the Complaint as it is these
23
     documents that consist of this cause of action. Plaintiff has not been asked for any documents or
24

25 information.

26
     IX.       CLASS ACTION
27
               There is no proposed class at issue in this matter.
28
                                                   8
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     X.      RELATED CASES
 1

 2           There are no related cases.
 3
     XI.     RELIEF
 4

 5           Plaintiff was awarded a merit scholarship that would save him $40,000 dollars in tuition

 6 costs for the first year of law school. Plaintiff seeks this money due to Defendants breach of

 7
     contract if Plaintiff returns to law school. Plaintiff would also accept GGU covering tuition at
 8
     another law school, if Plaintiff is accepted, to the extent that the tuition at the new law school will
 9
     be the same as it was a GGU.
10

11           Plaintiff will seek relief in the likelihood that he could be permanently denied entry into
12 another law school and thus the legal profession. As a requirement of law school applications,

13
     Plaintiff must disclose any disciplinary action taken upon him from any school that he attended.
14
     Plaintiff has also been permanently damaged by way of reports that are sent to law schools along
15
     with applications. The report contains each school that an applicant has matriculated at. This causes
16

17 Plaintiff to have to explain his odd situation to any school that he applies to. As Plaintiff is not a

18 transfer student and only spent one month at GGU with not grades, it raises suspicion and creates

19 more of a burden for Plaintiff than had he not attended GGU. For damages in the case Plaintiff is

20 permanently barred from entering another law school and fulfilling his dream to become a lawyer

21
     due to Defendant’s actions, Plaintiff calculates future lost wages of $2,000,000.
22

23           Plaintiff also seeks monetary relief for the emotional distress Defendant has caused him and

24 continues to cause him by having Plaintiff take extra steps that he would otherwise not have to do in

25 applying to other law schools, thus adding unwarranted stress. Plaintiff does not know how to

26
     calculate such damages.
27
             Plaintiff also seeks damages for the defamatory statements made by Defendant.
28
                                                   9
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              Plaintiff also seeks damages for Defendant’s violation of California Education Code §
 1

 2 94367.

 3            Plaintiff also asks for relocation costs as well as costs applying to new law schools.
 4
              Plaintiff also seeks damages for Defendant disclosing private information.
 5

 6            Plaintiff seeks moneys lost as working as a lawyer for one year. Plaintiff will seek damages
 7
     for each year he is out of law school until he returns. Plaintiff is actively applying to other schools.
 8
              Plaintiff also seeks relief for damages that the court finds just.
 9

10            Plaintiff seeks immediate refund of tuition money.
11
     XII.     SETTLEMENT AND ADR
12

13            The parties have not engaged in formal settlement discussions since the commencement of
14 this action. The parties have conferred regarding ADR and have opted for mediation.

15
     XIII. CONSENT TO MAGISTRATE JUDGE FOR ALL PURPOSES
16

17            The parties have consented to a magistrate judge for all purposes.
18
     XIV. OTHER REFERENCES
19

20            None at this time.

21
     XV.      NARROWING OF ISSUES
22

23            Plaintiff requested declaratory relief as given under California Education Code § 94367

24
     XVI. EXPEDITED TRIAL PROCEDURE
25
              This case is not suitable for handling under the Expedited Trial Procedure of General Order
26

27 No. 64 Attachment A.

28
                                                   10
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     XVII. SCHEDULING
 1

 2           Plaintiff has not scheduling requests at this time.
 3
     XVIII. TRIAL
 4

 5           The case will be tried by jury. Plaintiff might consider a bench trial in the future.

 6
     XIX. DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR PERSONS
 7

 8           Plaintiff will file a “Certificate of Interested Entities or Persons” concurrently.

 9
     XX.     PROFESSIONAL CONDUCT
10

11           Plaintiff has reviewed the Guidelines for Professional Conduct for the Northern District of

12 California

13

14
     DATED: June 1, 2018
15

16                                                                     MORTEZA BENJAMIN RAY
                                                                      KARIMI
17                                                                     In Pro Per
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